Case 1:04-cv-@e1-PBS Document 1-2 Filed 004 Page 1 of 19

doing research in Neurontin and maintained a database of patients who were
treated with Neurontin:

* $500.00 to Bruce Ehrenberg, of Boston, MA, a leading speaker for Parke-Davis
regarding “off-label” uses of Neurontin, to attend a conference in China;

* $1,000.00 to Isracl Abrams, M.D., Paul C. Marshall, M.D., Beth Rosten, M.D.
and Spencer G, Weig, M.D., of Worcester, MA, for educational programs in
February 1996. According to the local Parke Davis representative requesting
the grant, “much of the Neurontin success in Worcester has been attnbuted to . .
. the 4 pedicpileptologists below”;

e $1,400.00 to Dr. Ahmad Beydoun of Ann Arbor, MI, for post-graduate traiming
in March 1996, This grant was processed on a quick tumaround, the Parke-
Davis representative noting, “T realize that this is a very short time line,
however. Dr. Beydoun is a very important customer”;

e $1,500.00 to Jim McAuley, R.Ph, Ph.D. for educational matenals relating to
epilepsy. Parke-Davis decided to provide the funds because McAuley was an
advocate of Neurontin and he was important in getting another Parke-Davis
drug, Cerebyx, accepted on the formulary for Ohio Staie University; and

* A prant in an unknown amount to University Llospital in Cleveland in exchange
for hosting programs rcgarding Neurontin’s use in trealing neuropathic pain at
conferences specifically devoted to obtaining referrals from other doctors.

54. These grants, and others, were charged to the Neurontin marketing budget. Each
of these grants was made solely because the individual who would receive the money was a large
Neurontin supporter or would host a program where a well-known Neurontin supporter would
recommend that other physicians increase their prescriptions of Neurontin. Each of these grant
awards constituted a reward or kickback for the recipient’s advocacy of Neurontin.

55. Parke-Davis’s medical liaisons informed leading Neurontin subscribers that

significant advocacy for Neurontin would result in the payment of large grants. These studies

-O|-

Case 1:04-cv-}81-PBS Document 1-2 Filed 504 Page 2 of 19

did not involve significant work for the phystcians. Often times they required little more than
collating and writing up office notes or records. Indeed, as noied below, Parke-Davis frequently
hired technical writers to write the articles for which the “authors” had been given grants.

56. Parke-Davis was aware that these articles and studies provided minimal scientific
benefit. In a letter to the FDA written in June 1997, Parke-Davis submitted a list of “studies
relating to pain, pain syndromes, and psychiatric disorders” which failed io include any of these
numerous studies, purportedly funded by Parke-Davis. Parke-Davis intentionally neglected to
report these “studies” to the FDA because they knew the funded “rescarch” had no scientific
value and would not be deemed to be studies by the FDA, Payments Parke-Davis made for

“studies” included, but were not limited to, the following:

Funded Project Payee Payment
Statistical Analysis of Patients Hans Iansen, M.D.; $7,000.00
Treated With Neurontin For Pain Statesville, NC
Reduction of Sympathetically David BR. Longmire, M.D.; $7,000.00
Medicated Pain and Sudomotor Russellville, AL
Function
Datla entry for Neurontin and Pain = ‘Travis Jackson, M.D.,
Analysis David Meyer, M.D.;

Winston-Salem, NC
Trial of Neurontin for distal Joseph Weissman, M.D. $20,000.00
syminctric polyneuropathy Atlanta, GA
associated with AIDS
Neurontin for neuropathic pain in Lavern Brett, M.D. $25,000.00
chronic pain syndromes Washington, D.C.
Retrospective chart analysis of Ralph 8. Rybeck, M.D. $5,000.00
Neurontin use with bipolar disorder
patients
Retrospective Analysis of David R. Longmire,M.D.; $2,000.00
Neurontin in the treatment of pain Russellville, AT.
Retrospective Analysis of Don Schanz, D.O. $8,000.00
Neurontin in the treatment of Traverse City, MI

chronic pain

Case 1:04-cv-@}81-PBs Document 1-2. Filed osyo4 Page 3 of 19

Funded Project Payce Payment

Case histories relating to use of Elizabeth J. Narcessian, $4,000.00
Neurontin as an adjuvant analgesic =]; W. Orange, NJ

Plaintiff has reason to believe that other payments were made to physicians for other “studies” of
questionable scientific credibility,

57. Once particularly large study conducted by Parke-Davis served as yet another
engine to financially reward physicians for prescnbing Neurontin. In 1995 and 1996, Parke-
Davis conducted an enormous Phase LV trial known as STEPS. Although STEPS took the form
of a research clinical trial, it was, in fact, a marketing ploy designed to induce neurologists to
become comfortable prescribing Neurontin at a far higher dose than indicated in the FDA
approved labeling. While most clinical studies have a limited numbcr of investigators treating a
number of paticnts qualified for the study, the STEPS protocol called for over 1,200
“investigators” to enroll only a few patients each. The participating physicians were instructed
to titrate their patients to higher than labeled dosages of Neurontin to demonstrate that patients
could tolerate high dosages of the drug. Rewarding physicians for prescribing high doses on
Neurontin was another way to increase Neurontin sales because higher per patient dosages
increased the amount of Neurontin sold. Additionally, the STEPS study was also designed to
habituate physicians to place non-study patients on Neurontin on doses higher than found
effective in the clinical trials monitored by the FDA,

58. Physicians cnrolling in the STEPS study were paid for agrecing to participate in
the study and for every patient enrolled. At the conclusion of the study, Parke-Davis offered
each of the 1,200 “investigators” additional cash for each paticnt the doctor kept on Neurontin
after the study ended. These payments were unquestionably kickbacks, each participating doctor
was expressly paid for writing Neurontin prescriptions for their patients. The number of
“investigators” who received such payments are too many for Plaintiff to list herein.

Additionally, Parkc-Davis has exclusive control of the information regarding who received such

payments at the conclusion of the STEPS trial.

Case 1:04-cv, @jps1-PBs Document 1-2. Filed off io4 Page 4 of 19

4. Payments to “Authors” of Ghost Written Articles

59. _ Yet another method of rewarding doctors for their advocacy of Neurontin was to
pay them honorarium for lending their names to scientific articles which were actually prepared
and written by third parties retained by Parke-Davis. In 1996, Parke-Davis retaimed
AMM/ADELPHI, Lid. and Medical Education Systems, Inc. to prepare no less than twenty (20)
articles for publication in various neurology and psychiatry journals. Most of these articles
concerned “off-label” usage of Neurontin and were gencrated so that Parke-Davis would have
completely controlled publications it could distribute pursuant to its “publication siralegy.” The
content of these articles were actually written by non-physician technical writers retained by
Parke-Davis, and Parke-Davis had the right to control the content of all the articles. Parke-Davis
paid all expenses m connection with the creation of these publications.

60). Once Parke-Davis and the iechnical writers conccived the articles, Parke-Davis
and its outside firms attempted to tind recognized Neurontin prescribers whose names could be
used as the authors of these articles. In some cases, drafts of the articles were completed even
before an “author” agreed to place his or her name on the article. This even occurred in
connection with case historics that purported to describe the “author's” personal treatment of
actual patients. The “authors” were cach paid an honorarium of $1,000.00 to lend their names to
these articles, and also were able to claim publication credit on their curriculum vitae.

61. After the technical writers completed their work, Parke-Davis and its outside
firms found journals that would publish the articles. Parke-Davis’s role in creating, approving
and sponsoring the articles was hidden from the public and from the FDA, While the articles
might reference that the author received an honorarium {tom the outside firm, the articles failed
to state that the honorarium was paid with money provided by Parke-Davis and that Parkc-Davis
had approved the content and hired the actual authors. For example, an article created hy
Medical Education Systems (MES), Gabapentin and Lamotrignine: Novel Treatments for Mood
and Anxiety Disorders, published in CNS Spectrums noted that ‘an honorarium was received

from Medical Education Systems for preparation of this article,” but never revealed Parke-

-24.

Case 1:04-cv-@§}81-PBS Document 1-2 Filed 0x04 Page 5 of 19

Davis’s retention and payment of MES or the fact that MES personnel, while under contract to
Parke-Davis, wrote the article.

62.  Parke-Davis used these publications as part of their “publication strategy” by
presenting the articles as evidence of independent research conducted by persons with no
monetary interest in Neurontin. ‘This impression, of course, was false. Parke-Davis created the
articles to promote “off-label” uses for Neurontin, purchased the names and reputations of the
authors with kickbacks and controlled the content of the articles.

5. Speakers’ Bureau

63.  Parke-Davis also tounded the Speakers’ Bureau, another method to make large
and numerous payments to physicians who recommended Neurontin at teleconferences, dinner
meetings, consultants meetings, educational seminars and other events. These speakers
repeatedly gave short presentations relating to Neurontin which they were paid anywhere from
$250.00 to $3,000.00 per event. Speakers such as Steven Schachter, B.J. Wilder, Tlo Leppik,
Gary Mellick, David Longmire, Gregory Bergey, Michael Merren, David Treiman, Michael
Sperling, Martha Morrell, R. Eugene Ramsay, John Pellock, Ahmad Beydoun, Thomas Browne,
John Gates, Jeffrey Gelblum, Dennis Nitz, Robert Knobler and others received tens of thousands
of dollars annually in exchange for recommending to fellow physicians that Neurontin be
prescribed, particularly for “off-label” uses. The payments that these doctors received were far
in excess of the fair valuc of the work they performed for Parke-Davis. Speakers who most
yealously advocated Neurontin were hired most frequently for speaking events, notwithstanding
the fact that many of these events purported to be independent medical education seminars where
independent information was supposed to be delivered. The identity of the doctors in the
Speaker's Burcau who received kickbacks through excessive compensation can only be
determined after review of the records in the exclusive custody of the Defendant. Plaintiff is
aware that extensive payments through the Speaker’s Bureau took place between 1995 and 1997,

the last year for which Plaintiff has acecss to records. Plaintiff is aware that “off-label”

-25-

Case 1:04-cv-@Bp1-PBS Document 1-2 Filed 05@o4 Page 6 of 19

promotion of Neurontin pursuant to the “publication strategy” continued after 1997 and,
accordingly, believe such kickback payments continued at least through 2000.

64. Parke-Davis’s marketing personnel, including its medical liaison staff, informed
physicians of the lucrative rewards of joining the Neurontin Speaker’s Bureau. Physicians were
informed that if they prescribed enough Neurontin, they, too, could also be eligible for receiving
substantial payments just for describing their clinical experience to peers at events dedicated to
promoting Neurontin’s “off-label” uses. Parke-Davis’ marketing personnel, however, made it
clear that the only way the doctors could receive such cash payments was if they prescribed
substantial amounts of Neurontin to their patients, preferably for “off-label” uses.

65. Parke-Davis either knew that the payments described above constituted kickbacks
or acted in reckless disregard of laws and regulations of which it was aware. Parke-Davis was
well aware of the Medicare and Medicaid fraud and abuse laws, which included the Medicaid
anti-kickback statute. [t was further aware that the safe harbors established by the Department of
Health and Human Services did not cover the extensive payments it made to doctors. Parke-
Davis was aware that ils payments did not comply with the guidelines of the Amencan Medical
Association for payments to physicians. It also knew that the payments had been made for the
express purpose of encouraging the physicians to order Neurontin for their patients. Parkc-Davis
was also aware of the Inspector General’s Special Fraud Alert, which raised particular concems
about drug marketing. Nonetheless, Parke-Davis did nothing to curb its kickback payments to
physicians and could not have marketed Neurontin’s “olf-label” uses without such payments.

66. In 1997, in the wake of an investigation by the FDA, Parke-Davis conducted a
review of its marketing practices in light of existing Medicaid kickback regulations. As a result
of that review, Parke-Davis determined that nene of the programs described above should have
been conducted in the manner previously conducted by Parke-Davis. Parke-Davis issued
guidelines to comply with Federal Regulations which essentially prohibited each of the programs
described above. Nonetheless, the payments to physicians for the “off-label” marketing of

Neurontin did not ccasc and the programs continued at least until 1998. Given thal Parke-

-26-

Case 1:04-cv.@s1-PBs Document 1-2 Filed 004 Page 7 of 19

Davis’s records demonstrate payments of inappropriate kickbacks to doctors through 1998,
Plaintiff believes that such payments continued through the merger of Parke-Davis’s parent,
Warner-Lambert, with Defendant Pfizer in 2000, or perhaps even through the calling of a grand
jury regarding Parke-Davis’s marketing practices relating to Neurontin,

Cc. Parke-Davis’s Use of “Medical Liaisons” to Promote Neurontin “Off-Label”

67. Parke-Davis’s normal sales force was not permitted to promote “off-label” uses of
Neurontin to its physician customers. The FDA, however, permitted drug company
representatives to provide balanced, truthful information regarding “off-label” usage, if
specifically requested by a physician, and if there was no attempt to solicit such information by
the drug company. Commencing in 1995, Parke-Davis increasingly hired “medical liaisons” and
trained them to aggressively solicit requests for “off-label” information from physicians, Once
this door was open, Parke-Davis trained the “medical liaisons” to cngage in full scale promotion
of Neurontin’s “ofi-label” uses, including repetitive distnbution of non-scientific, anecdotal
information designed to convince physicians that “off-label” usage of Neurontin was safe and
effective. In effect, Parke-Davis used the “medical liaisons” as a surrogate sales foree who had
liberty to solicit physicians regarding “off-label” uses. Indeed, “medical liaisons” were selected
and promoted based on their ability to sell and sales training was encouraged.

68. On April 16, 1996, at a trainmy session for medical liaisons, Parke-Davis in-
house lawyers stopped the vidcotaping of a medical liaison training session to advise the haisons
that notwithstanding formal policies to the contrary, liaisons could “cold call” on physicians so
long as they had executed request forms (forms that supposedly verified thal the physician had
initiated the meeting) at the end of the call. Moreover, the haisons were informed that the
request forms could be filled oul by Parke-Davis sales representatives instead of the doctors.
Company lawyers also informed the liaisons-in-training that there was no need to present
balanced information to the customers and that Haisons should always remember that sales were

necessary in order to kecp the company profitable. The liaisons were also informed by the

_)]-

Case 1:04-cvs1-Pes Document 1-2 Filed SD. Page 8 of 19

lawyers, off camera, that there really was no definition of “solicitation” and that there were
methods to induce the physicians to inquire about “off-label” uses. In effect, once the medical
liaison got a meeting with a doctor, there were ways to get the information about “off-label” uses
to the doctor even if the physician had not requested “off-label” information. ‘The lawyers also
wamed the liaisons that under no circumstances should any information about “off-label” uses be
put in writing.

69, Medical liaisons were instructed im the clearest possible terms that they were to
market and sell Neurontin based on ils “off-label” uses. During a teleconference on May 24,
1996, John Ford (“Ford”), a senior marketing executive at Parke-Davis’s Morris Plains
headquarters, directly informed the medical liaisons that in order to market Neurontin
effectively, Neurontin had to be marketed for monotherapy, pain, bipolar disorder and other
psychiatric uses, all of which were “off-label.” Ford conecded that such marketing had to be
primarily performed by the medical liaisons, because they were the only ones who could discuss

these matters. At another meeting with the medical liaisons, Ford was even more blunt:

“T want you out there every day sclling Neurontin. Look this isn’t just me, it’s
come down from Morris Plains that Neurontin 1s more profitable. ... We all
know Neurontin’s nol growing adjunctive therapy, beside that is not where the
moncy is. Pain management, now that’s money. Monotherapy, that’s moncy. We
don’t want to share these patients with everybody, we wani them on Neurontin
only. We want their whole drug budget, not a quarter, noi half, the whole thing . .
_-We can’t wait for them to ask, we need to get out there and tell them up front. . .
.That’s where we need to be holding their hand and whispenng in their ear
Neurontin for pain, Neurontin for monotherapy, Neurontin for bipolar, Neurontin
jor everything ...1 don’t want to sce a single patient coming off Neurontin until
they have been up to at least 4800 mg/day. T don’t want to hear that safety crap
either, have you tned Neurontin, every one of you should take one just to see
there is nothing, it’s a great drug.”

70. Thus, medical liaisons were trained to cold call high decile physicians (those who
saw the most patients in a given specialty), and sell thom on the “off-label” benefits of
Neurontin. A key aspect of this selling was misrepresentation. The first mtsreprescntation was
usually the status of the medical liaisons. With the full approval of marketing officials at Parke-

Davis such as John Ford, Phil Magistro and John Krukar, medical liaisons were routinely

28.

Case 1:04-cv- @Hs1- PBs Document 1-2 Filed og” Page 9 of 19

introduced as specialists in the specific drug they were presenting at a particular mecting. Thus,
medical liaisons could be “experts” in anti-cpileptic drugs at one moment and an hour later be an
“oxpert” in cardiac medication. Medical liaisons were also cncouraged to represent themselves
as medical researchers, even though they neither conducted medical research nor analyzed
medical research performed by others. Tt was nol uncommon for medical liaisons to be
introduced as physicians, even though they had no such qualifications. Salcs personnel were
instructed to mtroduce medical liaisons as scientific employees who were given momentary
leave of their academic duties to make an individual presentation to the physician; the fact that
the Jiaisons were pari of Parke-Davis standard marketing detail was intentionally hidden.

71.  Parke-Davis employees instructed medical Haisons on the procedure that should
be followed when presenting “The Neurontin Cold-Call Story” to a neurologist, general

practilioner, or psychiatrist who was a target for off-label use:

¢ Mention that you are the eyes and ears of Parke-Davis research
and that you are gathering climeal info;

e Then ask general questions about the nature of ihe practice;

« Mention Neurontin and its approved uses, but dismiss them as
old news:

« Then ask leading questions about the number of pain paticnts
that the practice sees;

* Then ask a scrics of questions that determine the practice protile
for all of the potential “olf-label” uses;

e Next reveal that Parke-Davis “has a yreat deal of information
about the fantastic response rate of paticnts on Neurontin in all
of these disease states”;

« Move into a discussion of the clinical trials that this information
is demanding;

e And the “90-95% response rate that we are secing in more than
80% of patients”;

* Present the docior with any publications that are available and
point out that many conunon drugs for pain treatment are in few
if any publications;

39.

Case 1:04-cv-4@@p1-PBS Document 1-2 Filed ogy Page 10 of 19

e Ask the physician to place some paticnts on Neurontin and tell
them that the medical liaison will stay in touch to help develop
any case reports;

* Mention that case reports can be lucrative and can lead to
clinical trials;

* Offer to do a presentation and luncheon for the entire practice or
a group of his fnends that witl detail all of the “data” we have;

* Invite the physician to consultant meetings in the future and
point out that they pay $250 plus a nice trip or meal in the city,
and

*« Ha salcs representative is present they should close the sale by
asking that the next patient he secs should be put on Neurontin.

72. It was during the training in Parsippany, NJ, that a whistleblower, who 1s now a
plaintiff in a gui tam action in federal court in Boston, Dr. Paul Franklin, first witnessed the
scope of the “off-label” claims that Parke-Davis intended its medical Naisons to market. The
medical liaisons were provided with new company slides that detailed the “method” to use to
increase the use of Neurontin in several different “off-label” practice types. The shde show
contained a slide that showed the “Anecdotal Uses of Neurontin.” The list cluded the
following:

* Reflex sympathetic dystrophy (RSD)
* Peripheral ncuropathy

e Diabetic neuropathy

« ‘Trigeminal neuralgia

* Post-Herpcetic ncuralgia

® Essential tremor

* Restless leg syndrome (RLS)

e Attention deticit disorder (ADD)

* Periodic limb movement disorder

1 According to the allegations of the federal court qui tam action, this slide was often

updated with the addition of a new disease state and a new version sent to Dr, Franklin. Tl was
updaicd so often that it was originally kept in a different slide format than the rest of the slides he
had been given.

-30-

Case hod-cv-(@agp2-PBS Document 1-2 Filed “oe Page 11 of 19

® Migraine
« Bipolar disorder’

« Amyotrophic lateral sclerosis (AILS) [Lou Gchrig’s
Discasc|

* Drug or alcohol withdrawal seizures

73. Executives explained that “this list was very important to the company but that it
makes Neurontin look like snake oil, so preempt the laughter by telling your physicians that ‘I’m
embarrassed to show you the next slide because it makes Neurontin look like snake oil, but the
fact is, We arc sccing extra-ordinary results, in some cases up to 90% response in all of these
conditions,’ that will pct their attention.” This executive went on to say that, “[nJotice all the
studies we talk about, nothing gets a doc more interested in a drug than a study.” Richard Grady,
a medical liaison, asked if “we have any money to lace studies without big docs.” He was
instructed to “use the potential of a study to get in the door, even get protocols, but don’t waste
too much time and don’t say you can get them a study, we don’t have much money left.” He was
then told that “if anyone asks for back-up data say we are putting it together, then suggest that
the doc put some of his patients on Neurontin and we will help him publish case reports that
could help place a study in his practice. Everybody wins.”

74, None of the “off-label” claims made in the slide had been substantiated, let alune
approved by the FDA. Yet, these claims were a cornerstone of the Parke-Davis scheme to
increase “off-label” sales of Neurontin.

75. Thus, extensive misrepresentations were also made regarding the scientific
information concerning “off-label” usage of Neurontin. The following misrcpresentations
Telating to “off-label” usage of Neurontin were routinely made to physicians with the knowledge
and consent of marketing personnel ai Parke-Davis, and continued to be made to doctors after the
2000 merger with Pfizer:

1, Bipolar Disorder, Medical liaisons informed psychiatrists that early

results from chnical tals evaluating Neurontin for the treatment of bipolar disorder

-31-

Case 1:04-cv-@gp1-PBs Document 1-2 Filed ops Page 12 of 19

indicated a ninety percent (90%) response rate when Neurontin was started at 900
mg/day dosage and increased to a dosage of 4800 mg/day. No such results existed.
Nor was any type of clinical tnal being conducted other than a pilot study. There
were no clinical trials or studics indicating that Neurontin was sate or effective up
to 4800 mg/day. Indeed, Parke-Davis was in possession of clinical tral evidence
which showed that there was no dose response difference between patients who
received 600 mg/day, 1200 mg/day and 2400 mg/day. Any data relating to the use
of Neurontin in bipolar disorder was strictly anecdotal and of nominal scientific
value, Indeed, most of the published reports on this topic had been written and
commercially sponsored by Parke-Davis, although this fact was hidden. Medical
liaisons were trained to inform psychiatrists that there were 110 reports of adverse
effects for Neurontin when used for psychiatric purposes. Tt fact, such reports had
been reported to Parke-Davis personnel, but Parkc-Davis attempted to hide such
Teports Irom physicians.

2. Peripheral Neuropathy, Diabetic Neuropathy, and Other Pain
Syndromes. Medical liaisons were trained and instructed to report that “leaks”
from clinical trials demonstrated that Neurontin was highly effective in the
treatment of various pain syndromes and that a ninety percent (90%) response rate
in the treatment of pain was being reported. No such body of evidence existed.
Nor was there any lcpitimate pool of data from which a response rate, much less a
ninety percent (90%) response rate, could be calculated. Medical liaisons were
trained (o claim support for these findings as a result of inside information about
clinical trials where no such information existed. The only support for these claims
was anccdotal evidence of nominal scientific value. Many of the published case

reports had been created and/or sponsored by Parke-Davis in articles which

frequently hid Parke-Davis’s involvement in the creation of the article. Parke-

Case L:04-cv-(@p1-PBS Document 1-2 Filed og” Page 13 of 19

Davis’s payment for the creation of these case reports was also hidden from
physicians.

3. Fpilepsy Monotherapy. Medical Haisons were strongly encouraged
to push neurologists to prescribe Neurontin as the sole medication to treat epilepsy,
even though studies only found it sale and effective as adjunctive therapy. Mcdical
liaisons were trained to inform neurologists that substantial evidence supported
Parke-Davis’s claim that Neurontin was effective as monotherapy. In fact, at this
time, Parke-Davis knew that clinical trials regarding Neurontin’s efficacy as a
monotherapy were inconclusive. One of Parke-Davis’s clinical trials, 945-82,
demonstrated that Neurontin was not an effective monotherapy agent; the vast
majority of patients in the study taking Neurontin were unable to continue with
Neurontin alone. The same study showed that there was no effective di ference
between administration of Neurontin at 600, 1200 or 2400 mg. Notwithstanding
this data, Purke-Davis continued to claim that physicians should use Neurontin at
substantially higher doses than indicated by the labeling. Indeed, although medical
liaisons routinely claimed Neurontin to be effective as monotherapy, in 1997 the
FDA refused to find Neurontin a safe and effective monotherapy.

4. Reflex Sympathetic Dystrophy (“RSD”), Medical liaisons informed
physicians that extensive evidence demonstrated the efficacy of Neurontin in the
treatment of RSD. The only such evidence that existed was anecdotal reports of
nominal scientific value. Medical liaisons were trained to refer to case reports,
most of which had been created or sponsored by Parke-Davis, as “studies.”

5. Attention Deficit Disorder (“ADD ’’). Medical liaisons were
instructed to inform pediatricians that Neurontin was cffective for the treatment of

ADD. No data, other than occasional anecdotal evidence, supported this claim.

Nonetheless, the medical liaisons were trained to report that large number of

Case 1:04-cv-@ige1-PBS Document 1-2 Filed og” Page 14 of 19

physicians had success treating ADD with Neurontin, when no such case reports
existed.

6. Restless Lee Syndrome (“RIES”). RLS was another condition where
Parke-Davis’s medical liaisons were trained to refer to a growing body of data
relating to the condition, when no scientific data cxisted. The only reports were
anecdotal, most of which had been created and/or sponsored by Parke-Davis.

7. Trigeminal Neuralgia. Although medical liaisons represented that
Neurontin could treat Trigeminal Neuralgia, once again no scicntific data supported
this claim with the exception of occasional anecdotal reports. No data
demonstrated that Neurontin was as effective as currently available pain killers,
most of which were inexpensive.

&. Post-Herpatic Neuralgia (“PHN”). Medical liaisons were trained to
icll physicians that seventy-five percent (75%) to cighty percent (80%) of all PHN
patients were successfully treated with Neurontin. Once again, no clinical trial data
supported such a claim,

9, Essential Tremor Periodic Limb Movement Disorder (“ETPLMD").
Medical liaisons were trained to allege that Neurontin was effective in the treatment
of these conditions. No scientific data supported such claims with the exception of
ancecdotal reports of nominal scientific value.

10. Migraine. Claims that Neurontin was effective in the treatment of
migraine headaches were made by the medical liaisons and were supposedly based
on early results from clinical tnals. Although pilot studies had been suggested and
undertaken, no carly results of clinical trials existed to support these claims. Once
again, any dala relating to treatment of migraines was purely anecdotal and of
nominal scientific value. Most of the case reports were either created or sponsored

by Parke-Davis.

-34.

Case 1:04-cv- @Hs1- PBs Document 1-2 Filed og” Page 15 of 19

Ll. Drug and Alcohol Withdrawal Seizures. Medical liaisons suggested

that Neurontin be used in the treatment of drug and alcohol withdrawals despite the

lack of any data supporting Neurontin as an effective treatment for these

conditions.

76. Misrepresentations by Parke-Davis were not limited to presentations by medical
liaisons. As noted above, publications that Parke-Davis distributed as part of its “publication
strategy” intentionally misrepresented Parke-Davis’s role in the creation and sponsorship of the
publications. Physicians were led to believe that the publications were the independent, unbiased
research of the authors of the articles. Jn fact, many of the publications distributed to physicians
were crealed by Parke-Davis and written by third parties retained by Parke-Davis who were
under Parke-Davis’s control. The fact thal these articles were authored by ghostwriters retained
by Parke-Davis was intentionally hidden, and the fact that the authors had financial ties to Parke-
Davis was also intentionally undisclosed. For example, an article widely circulated by Parke-
Davis concerning the use of Neurontin in the treatment of Restless Leg Syndrome asserted that
the authors Gary A. Mellick and Larry B. Mellick, had not and never would reccive financial
benefit from anyone with an interest in Neurontin, yet the Mellick brothers had received tens of
thousands of dollars for acting as speakers at Parkc-Davis events. ‘This financial connection was
hidden from the persons who received copies of the Mellick brothers’ articles.

77. Defendants’ strategy included paying doctors to appear as authors of journal
articles on “off-label” uses of Neurontin, articles that were actually written by nonphysicians
working under the direction of the company’s marketers, The company then paid hundreds of
doctors to attend expensive dinners and weekend retreats, where they were urged to preseribe
Neurontin.

78. Other doctors, often frequent preseribers of Neurontin, were paid to speak to other
physicians about Neurontin’s benefits. Finally, the company paid doctors to prescribe Neurontin

and include those paticnts in clinical trials, which were designed mainly for marketing purposes.

-35-

Case 1:04-cv-@gs1-PBS Document 1-2 Filed og Page 16 of 19

79. The company adopted the marketing strategy, after deciding not to perform the
clinical trials needed to gain approval of new uses for Neurontin because it believed that the drug
would soon lose patent protection.

BO. In fact, Parkc-Davis engaged in an extensive and far-reaching campaign to use
false statements to promote increased prescriptions of Neurontin.

81. The scheme used a team of “medical liaisons.” While medical liaisons are
ordinarily connected to the research divisions of the manufacturer, Parke-Davis’s medical
liaisons were exclusively employed as sales and promotion personnel.

82. Parke-Davis’s medical liaisons were instructed to make cxagecrated or false
claims concering the safety and efficacy of Parke-Davis drugs for “off-label” uses. They were
also trained to convey that Neurontin could be prescribed for its various “off-label” uses in
amounts of up to 4800 my/day — far above the maximum dosage of 1800 mg per day approved
by the FDA. ‘To bolster their representations lo physicians, medical liaisons were encouraged to
misrepresent their scientific credentials and to pose as research personnel, rather than as sales
representatives. This practice continued in the years 2000, 2001 and may still be continuing.

83. Doctors were rewatded with kickbacks for prescribing large quantities of Parke-
Davis drugs. These alleged kickbacks took various forms. For instance, some doctors were paid
sums of money which were ostensibly compensation for drug studies. However, these studics
were shams and had no scientific value. Other doctors were paid sums of money under the guisc
of being compensated for their services as “consultants” or “preceplors” or for participating in a
“speaker's bureau.” Doctors were also allcecdly given cash payments for small record-keeping
tasks, such as allowing Parke-Davis access to information about the doctors’ patients who were
receiving Neurontin. Other doctors prescribing large amounts of Parke-Davis drugs.were given
gifts such as travel tickets and tickets to the Olympics.

84. When questions arose conceming the availability of reimbursement for
prescriptions for “off-label” uses of Parke-Davis drugs, medical Haisons were instructed to coach

doctors on how to conceal the “off-label” nature of the prescription.

-36-

Case hOA-cv- @ae2-PBS Document 1-2 Filed “oe Page 17 of 19

BS, Parke-Davis took numerous actions to conceal its activities from the FDA,
including shredding documents, falsifying documents, and encouraging medical liaisons to
conduct their marketing activitics without lcaving a “paper trail” that might be discovered by the
FDA,

86. As part of the scheme and as set forth in a gui fam action filed by Dr. Paul

Franklin, a former Parkc-Davis employee:

* Upon order of the company and as a result of training of medical
liaisons, Dr. Franklin of Parke-Davis “deliberately contrived
reports to mislead physicians into belicving that a body of data
existed that demonstrated the cffectiveness of Neurontin im the
treatment of bipolar disease.” In fact, no data existed at all to
support the use of Neurontin in bipolar disorder.

e Dr. lranklin was trained and instructed to actively deceive
physicians with contrived data, falsified “Icaks” from clinical
trials, scientifically flawed reports, or “success storics” that
stated that Neurontin was highly effective in the treatment of a
variety of pain syndromes. No such body of evidence existed.

« He was instructed to advise physicians that Parke-Davis had
developed a Jarge body of data to support the use of Neurontin
as monotherapy. This was an “outright lic” and left patients
unknowingly without good seizure control.

* Medical liaisons were instructed to tell physicians that a great
deal of data cxistcd that supported the safe use of Neurontin at
levels that exceed 4800 mg/day. However, clinically significant
safety data existed at dosing levels at only 1800 mg/day.
* Parke-Davis provided medical liaisons with slides that stated
that Neurontin was effective for the treatment of Attention
Deficit Disorders but no data existed to support that claim.
87. The strategy was a success. In 2000, Warner-Lambert reported that more than
78% of Neurontin prescriptions had been written for indications other than epilepsy. Sales of

Neurontin that year were $1.3 billion, and they rose to $1.7 billon, according to TMS Health

(news/quote), a health care information company.

-37-

Case 1:04-cv-@81-PBS Document 1-2 Filed og Page 18 of 19

D. egal “Off-Label” Promotion Has Continued as Has the Continuing Impact of the
Earlier Misconduct

88. Asa result of the activities desenbed above, many of which continue to occur
after Dr. Franklin filed his whistleblower suit, physicians were mundated with false information
about Neurontin. As a result, they continue to prescribe Neurontin for “off-label” uses for which
there is no reliable scientific support.

89. On information and belief, Pfizer has a company-wide practice of markcting “off-
label” indications regardless of FDA limitations on the designated use of the product. “OM-
label” marketing plans exist for Cox 2 inhibitors and, on information and belief, also exist for
Neurontin. Pursuant to this practice, Defendants’ sales representatives have, while visiting with
doctors, violaied FDA rules and regulations by marketing Neurontin for “off-label” uses.

90. This continuing course of conduct is evidenced in part by the staggering growth
of Neurontin sales for non-approved FDA use. Because there are no valid scientific studies
supporting such use, a rcasonable inference is that the use resulls [rom past and continuing
promotional efforts by Defendants. This clear and unavoidable conclusion follows from
observations rcegarding the ongoing extent of prescnplions written for “off-label” Neurontin use.

91. First, from the perspective of overal] Neurontin sales, “off-label” usage of
Neurontin has actually icreased during the years since 1999; in recent years, “off-label”
prescriptions for Neurontin have exceeded 90% of all sales and, in some months, it appears that
approved indication usage is negligible.

92, Second, although Neurontin is prescribed for scores of “off-label” inchcations,
since 1999 the types of “off-label” usage continue lo be weighted in the precise areas where
Defendants focused their unlawful marketing efforts: bipolar disorder, peripheral neuropathy,
migraine, etc.

93. ‘Third, these focus treatment areas of continuing unapproved usage are subject to
very intense competition between therapeutic substitutes (other drugs or treatments). Indeed,

because manufacturers’ incremental cost for drugs in these areas is very small (e.g., only pennies

~3R-

Case 1:04-cv- @p1-PBS Document 1-2 Filed og” Page 19 of 19

to manufacture an additional pill), manufacturers compete aggressively for market share by
spending huge amounts of moncy for marketing, promotional and sales activitics. If any
company was to simply pack its tent and discontinue programmatic promotional effort in any
therapeutic arena, significant loss of overall sales within that diagnosis regime would certainly
occur. For Neurontin, no such dip in overall sales, Ict alone any significant drop, has occurred.

94. Fourth, Pfizer, like most branded drug companies, monitors the relationship of its
sales to its promotional efforts in very short timeframe; Pfizer would be concerned about a drop
in sales within a certain therapeutic regime not after a year look-back, or even a quarterly look-
back, but over just weeks. The persistent maintenance of high Neurontin salcs within multiple,
targeted arcas for “off-label” promotion over a period of years defics the conclusion that any
significant backing away on the marketing, sales or promotion on Neurontin to cach of those
unapproved therapeutic areas.

95. For example, sales of Neurontin for the treatment of bipolar disorder have sicadily
increased since its introduction. This increase is a direct result of Defendants’ sales
representatives recommending to doctors its use for this purpose and their distribution of
unapproved promotional materials. These promotional efforts did not stop in 1999, but
continued thereafter. There are no valid scientific studics that support Neurontin’s use for
bipolar disorders. Dr. C. Seth Landefeld has submitted an expert opinion in the Franklin
litigation that a review of Drugdex for Neurontin, as of the end of August 2002, reveals “no
published scientific studies to support Neurontin’s use for ... bipolar disorder.” As a result, tens
of thousands of patients who need help and could use other drugs whose cffectiveness has been
established, were given and are being given Neurontin. These prescriptions for this purpose are
still being written and are a direct result of Defendants’ pre-2000 illegal promotional activities
and post-2000 illegal promotional activities.

96. Likewise, sales of Neurontin for pain, AIS, attention deficit disorder, depression
and dosages in excess of 1800 mg per day, are also increasing without any scientific cvidence

supporting use of Neurontin for such indications. Again, as noted by Dr. Landeleld, as of the

-39-

